Case 1:19-cv-00112-LO-MSN Document 13 Filed 03/15/19 Page 1 of 4 PageID# 277



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                             Alexandria Division


  PROVIDENCE HALL ASSOCIATES
  LIMITED PARTNERSHIP,

                                                                       Civil No. l:19-cv-112
                            Plaintiff,
                    V.
                                                                       Hon. Liam O'Grady
  MARC E. ALBERT,

                             Defendant.


                                                     ORDER


         This matter comes before the Court on the Report and Recommendation(R&R)issued by

United States Bankruptcy Judge Brian F. Kenney on December 21, 2018(Dkt. 22). Judge

Kenney recommended that PlaintifTs suit against Defendant, PlaintifTs former trustee, be

dismissed as barred by the Barton doctrine and the statute of limitations. Plaintiff timely objected

to the R&R,and Defendant timely responded to Plaintiffs objections. The Court has reviewed

all the relevant pleadings, the supporting documents, and the case law, and finds good cause to

ADOPT the findings and recommendations of Judge Kenney.

         Plaintiff objects to four of Judge Kenney's conclusions oflaw. First, Plaintiff contends

that bankruptcy judges lack the authority to require Barton doctrine authorization ofsuits raising

Stern claims.' Second, Plaintiff argues Judge Kenney erred in concluding that the Barton
doctrine applies to cases removed from state court to bankruptcy court. Third, Plaintiff objects to

Judge Kenney's statement that the Barton doctrine "compels" dismissal ofPlaintiffs Complaint.
Fourth, Plaintiff disputes Judge Kenney's finding that the statute of limitations began to run on


'A Stern claim is "a claim the bankruptcy court is statutoriiy but not constitutionally authorized to decide and for
which it has not received the parties' consent to proceed." In re Renewable Energy Dev. Corp., 792 F.3d 1274, 1282
(10th Cir. 2015)(Gorsuch, J.).
Case 1:19-cv-00112-LO-MSN Document 13 Filed 03/15/19 Page 2 of 4 PageID# 278
Case 1:19-cv-00112-LO-MSN Document 13 Filed 03/15/19 Page 3 of 4 PageID# 279
Case 1:19-cv-00112-LO-MSN Document 13 Filed 03/15/19 Page 4 of 4 PageID# 280
